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   2    CENTER FOR DISABILITY ACCESS
        RAY BALLISTER, JR., ESQ., SBN 111282
   3    RUSSELL HANDY, ESQ., SBN 195058
        FAYTHE GUTIERREZ, ESQ., SBN 310430
   4    8033 LINDA VISTA ROAD, SUITE 200
        SAN DIEGO, CA 92111
   5    (858) 375-7385; (888) 422-5191 FAX
        FAYTHEG@POTTERHANDY.COM
   6       ATTORNEYS FOR PLAINTIFF

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   8
                               UNITED STATES DISTRICT COURT
   9                          CENTRAL DISTRICT OF CALIFORNIA
 10
 11
 12     Orlando Garcia,                          Case 2:20-CV-02491-MWF-KS
 13              Plaintiff,                      Plaintiff’s Application for
                                                 Default Judgment by Court
 14       v.                                     Against Mancora Peruvian
                                                 Cuisine Inc.
 15     Mancora Peruvian Cuisine Inc., a
        California Corporation;                  Date: August 24, 2020
 16     and Does 1-10,                           Time: 10:00 a.m.
                                                 Ctrm: 5A
 17              Defendants.
 18
 19
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 21            To Defendant Mancora Peruvian Cuisine Inc., and the attorneys of
 22    record, if any: Please take notice that on August 24, 2020, at 10:00 a.m., or
 23    as soon thereafter as this matter may be heard by this Court located at the
 24    First Street Courthouse, 350 W. 1st Street, Courtroom 5A, Los Angeles,
 25    California 90012, Plaintiff Orlando Garcia, will present his application for
 26    default judgment against defendants Mancora Peruvian Cuisine Inc. The
 27    Clerk has previously entered the default on Mancora Peruvian Cuisine Inc.,
 28    on April 16, 2020.


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       Plaintiff’s Application for Default Judgment        Case: 2:20-CV-02491-MWF-KS
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   1         At the time and place of hearing, plaintiff will present proof of the
   2   following matters: (1) Defendant Mancora Peruvian Cuisine Inc. is an entity
   3   and not minor or incompetent person or in military service or otherwise
   4   exempted under the Soldier and Sailor’s Civil Relief Act of 1940; (2)
   5   Defendant Mancora Peruvian Cuisine Inc. has not appeared in this action;
   6   and (3) Plaintiff is entitled to judgment against said Defendant on account of
   7   the claims pleaded in the complaint, to wit: a violation of the Americans with
   8   Disabilities Act, and the Unruh Civil Rights Act.
   9         The Plaintiff seeks $5,114.50, in attorneys’ fees and costs.
 10    Additionally, plaintiff seeks an order directing the defendant to provide
 11    accessible wheelchair accessible dining surfaces and wheelchair accessible
 12    restroom at Mancora Peruvian Cuisine restaurant at 283 S. Atlantic Blvd.,
 13    Los Angeles, California. This application is based on this notice, the
 14    declarations submitted in support of this motion, and other matters which
 15    may be presented at the hearing.
 16          Notice of this the original application for default judgment by court
 17    was served on defendant Mancora Peruvian Cuisine Inc., on July 15, 2020,
 18    by first class United States Mail, postage prepaid.
 19
       Dated: July 15, 2020                    CENTER FOR DISABILITY ACCESS
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 21                                            By: /s/ Faythe Gutierrez
                                               Faythe Gutierrez, Esq.,
 22                                            Attorney for Plaintiff
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       Plaintiff’s Application for Default Judgment          Case: 2:20-CV-02491-MWF-KS
